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              Exhibit A
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                                   Family Residential Center: Resident Safety Checks
                                                 Updated 10/27/2016

Purpose: Each Family Residential Center will establish a resident supervision plan to maintain resident safety and to
create a safe environment at the Center. The supervision plan will be in place 24 hours a day, 365 days a year and will
meet the tenets and goals of ICE’s Family Residential Standards. Appropriate staff-to-resident ratios will be maintained at
all times and will be defined by local policy and remain subject to all contractual and licensing mandates. The resident
supervision plan will support and augment each Center’s open movement paradigm--it is not intended to limit resident
movement or restrict freedoms, rather it is to promote resident interaction and engagement within a culture of safety,
cooperation, and shared norms. All safety checks will be unobtrusive and will not disrupt residents from their ongoing
activities.

Resident supervision requires a variety of methods. Staff will use their senses to continually monitor and assess Center
climate and resident safety.

    •    Safety checks include the visual and/or auditory monitoring of Center areas to ensure resident safety.
    •    Staff will employ routine and random safety checks during day and evening hours.
    •    Random checks are conducted so residents cannot determine when a staff person will be conducting his or her
         check.
    •    A staff person may not miss a routine or scheduled check, as a method of producing a random pattern of
         checks.
    •    Checks are to be documented in accordance with local policy.

Free Movement: Family Residential Centers allow adult and qualifying juvenile (with parental permission) residents to
move freely throughout the Center buildings and outdoor spaces without direct staff escort during designated times
each day. Times of free (or open) movement are defined by local policy and detailed in the Resident Handbook.

At all times outside the free movement period, residents are only allowed in their assigned bedroom or Center
dayroom(s).

Quiet Hours: Quiet hours are determined by local policy and refer to times when residents are to refrain from activities
that would disturb the sleep of others. During these hours, residents are only allowed in their assigned bedroom or
Center dayroom(s).

Vacancy Checks: The visual inspection of an area/room to verify that it is empty of all residents.

Room Checks: The physical inspection of a room to verify that each resident occupying the room is safe.

Daytime Hall Sweeps: The visual/auditory monitoring of each area/room in a post area to ensure safety of the residents,
adherence to Center rules/norms, and the security of the Center. Assigned staff members conduct routine and random
Hall Sweeps throughout daytime hours on a schedule defined by local policy. Hall sweeps must be conducted no less
than every 30 minutes (ideally every 15 minutes) and require staff to physically move throughout the post area. Staff
members are permitted to enter rooms as necessary, in accordance with local policy.

Nighttime Hall Sweeps: The visual/auditory monitoring of each resident bedroom and living areas during quiet hours
without entering the room or the shining of any light, to ensure the presence/safety of residents. Nighttime Hall Sweeps
must be conducted no less than every 30 minutes or as required by local policy, and require staff to physically move
throughout the post area. Nighttime hall sweeps DO NOT require entry into sleeping rooms unless further investigation
is necessary and articulable. Nighttime Hall Sweeps are used to augment evening bedroom safety checks.

Evening Bedroom Safety Checks: Physically entering a bedroom to visually confirm the presence and well-being of all
residents. Evening bedroom safety checks must be conducted at least hourly and on a random basis. When staff
members enter resident bedrooms, they will not make loud sounds or shine lights at residents and are not to disrupt
sleeping residents unless there is an emergency. Staff will only use ambient light or other ICE-approved lighting devices
to conduct evening bedroom safety checks.
